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                                  UNITED STATES DISTRICT COURT                    Filed
                                       DISTRICT OF SOUTH DAKOTA                         2 2 2017
                                           CENTRAL DIVISION
                                                                                           CLEfix



    UNITED STATES OF AMERICA,                                    3:17-CR-30004-01-02-04-RAL

                          Plaintiff,

                                                                   OPINION AND ORDER
           vs.                                                    ON PENDING MOTIONS

    JEREMIAH R. WALN, JESSE J. WALN, AND
    DOMINIC JOSEPH STONEMAN,

                          Defendants.




           The United States indicted these Defendants in a ten-count indictment. Defendants Dakota

    James Marshall, Danielle Marissa White Eyes, and Ronald Moran have entered into plea agreements
    and have pleaded guilty to resolve federal charges against them. Defendant Jeremiah R. Wain

   (Jeremiah), Jesse J. Wain (Jesse), and Dominic Joseph Stoneman (Stoneman) presently are set to be
    tried together during the week of January 2, 2018. There are a number of motions pending in this
    case, including motions from each of the Defendants for 10 additional peremptory challenges each
   (for a total of 30 defense peremptory challenges), motions to sever filed separately by Jeremiah and
   Jesse, and other pretrial motions. This Opinion and Order is to address those motions upon which a

   ruling can he made.

           Counts I and II of the Indictment charge Jeremiah and Jesse with burglary and larceny

   between May 20 and May 22, 2016, on the Rosebud Indian Reservation of the home of Patricia

   Bumette and Peggy Diekhoff. Doc. 1. Stoneman and the other codefendants are not charged in

   Counts I and II.
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            Counts III and IV of the Indictment charge Jeremiah, Jesse, and Stoneman, as well as

    Marshall and White Eyes, with burglary and larceny respectively between November 11 and

    November 13, 2016, of the Beau Westover home. Doc. 1. Count V charges the same group of
    Defendants with larceny during the same days of Keller Electric property. Doc. 1.

            Count VI of the Indictment charges Jesse with possession of a stolen firearm in November of

    2016—a Savage rifle—which was ^mong the items allegedly stolen fi-om the Beau Westover home.

    Doc. 1. Count VII of the Indictment charges Jeremiah and Jesse with possession of a stolen

    fnearm—a Benelli shotgun—which was among the items allegedly stolen from the Beau Westover

    home. Doc. 1.


            Counts VIII and DC charge only Marshall with crimes, while Count X charges only Moran

    with a crime. Doc. 1. The plea agreements and guilty pleas by Marshall and Moran avoid the need

    for any trial on Counts VIII, DC, and X.

           Each of the remaining Defendants has filed requests for additional peremptory challenges.

    Docs. 228, 262, 263. Defendants thus seek a total of 30 peremptory challenges to the Government's

    allotted 6 peremptory challenges. Federal Rule of Criminal Procedure 24(b)(2) governs peremptory
    challenges:

           (b) Peremptory challenges. Each side is entitled to the number of peremptory
           challenges to prospective jurors specified below. The court may allow additional
           peremptory challenges to multiple defendants, and may allow the defendants to
           exercise those challenges separately or jointly.



                  (2) Other Felony Case} The government has 6 peremptory challenges and
                    the defendant or defendants jointly have 10 peremptory challenges when the
                    defendant is charged with a crime punishable by imprisonment of more than
                   one year.
           Whether to grant additional peremptory challenges beyond those specified under Rule

   24(b)(2) is committed to the sound discretion of the trial court. United States v. Cartwright. 528 F.2d


   'Rule 24(b)(1) governs peremptory challenges in a capital case. This is an "other ifelony case."
                                                     2
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    168, 175 (7th Cir. 1975). This Court has granted one additional challenge per defendant previously,
    United States v. Lone Eagle. 15-CR-30050-RAL, Doc. 89, and has denied any additional challenges
    previously. United States v. Waloke. 16-CR-30148-RAL. This Court will deny the requests for an

    additional 10 peremptory challenges for each defendant, but will defer deciding whether to grant any

    additional peremptory challenges to the Defendants until the pretrial conference and motion hearing.

    If this Court does grant any additional peremptory challenges, it likely will be no more than one more

    per defendant and possibly contingent on the Defendants agreeing that, in fairness, the Government

    receive at least one additional peremptory challenge. ^United States v. Tucker. 526 F.2d 279, 283

   (5th Cir. 1976)(upholding the conditioning of grant of additional defense peremptory challenges on

    allowing government additional peremptory challenges).

           Both Jesse and very recently Jeremiah filed motions to sever, seeking separate trials from

    other Defendants and multiple trials of the various charges against them. Docs. 254, 264. The

    Government opposes Jesse's motion to sever. Doc. 257, and has not yet filed a response to the very

   recent motion to sever filed by Jeremiah. The motion to sever filed by Jesse is easy to deny, but the

    motion to sever filed by Jeremiah presents an issue where, depending on the Government's intentions

    with presenting evidence of Jesse's statements to law enforcement, Jesse may need to be tried

   separately.

           Jeremiah and Jesse first argue that trial on Counts I and II should be severed from trials on

   Counts III, rV, and V because the alleged burglaries and larcenies oecurred some six months apart

   and involved different participants and different victims. Doc. 255 at 3; Doc. 265 at 3. Rule 8(a) of

   the Federal Rules of Criminal Procedure, however, provides:

           The indictment or information may eharge a defendant in separate counts with 2 or
           more offenses if the offenses eharged—whether felonies or misdemeanors or both—
           are of the same or similar character, or are based on the same act or transaction, or are
           conneeted with or constitute parts of a common scheme or plan.
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    Fed. R. Crim. P. 8(a). "The rule is broadly construed in favor of joinder to promote the efficient

    administration ofjustice." United States v. Taken Alive. 513 F.3d 899, 902(8th Cir. 2008).

            Here the alleged burglaiy and larceny in May of 2016 of the Bumett/Diekhoff home is "of

    the same or similar character" as the alleged burglary and larceny of the Westover home in

    November 2016 and the alleged larceny of the Keller Electric property on the same dates. See Fed.

    R. Crim. P. 8(a). Both crimes allegedly involved both Jeremiah and Jesse and occurred on the

    Rosebud Indian Reservation. Jeremiah and Jesse do not appear to seek to sever trial of Counts VI

    and VII, which are the possession of stolen firearms charges, and indeed those allegations "are

    connected with or constitute parts of a common scheme or plan" or "are based on the same act or

    transaction" under Rule 8(a) as those are guns presumably stolen from the Westover residence.

    Neither Jesse nor Jeremiah are entitled to multiple and separate trials on the alleged Bumett/Diekhoff

    theft and the alleged Westover/Keller Eleetric thefts and related counts.

           Jeremiah and Jesse next argue that they should receive separate trials fi-om each other under

    Rule 8(b) of the Federal Rules of Criminal Procedure. Rule 8(b) allows the govemment to charge

   two or more defendants in the same indictment if the defendants "are alleged to have participated in

   the same act or transaction, or in the same series of acts or transactions, constituting an offense or

   offenses." Fed. R. Crim. P. 8(b). "Generally, the 'same series of acts or transactions' means acts or

   transactions that are pursuant to a common plan or a common scheme." United States v. Wadena.

   152 F.3d 832, 848 (8th Cir. 1998)). The Supreme Court has expressed "a preference in the federal

   system for joint trials of defendants who are indicted together." Zafiro v. United States. 506 U.S.

   534, 537 (1993). Consistent with this preference, the prerequisites of Rule 8(b) "are liberally

   construed in favor ofjoinder." United States v. Rimell. 21 F.3d 281, 288 (8th Cir. 1994). When

   determining whether joinder is appropriate under Rule 8, this court looks only to the allegations

   contained in the indictment. United States v. Lone Eagle. No. 15-CR-30050-RAL, 2015 WL

   5999518 at *1 (D.S.D. Oct. 14, 2015); United States v. Condon. No. 3:14-CR-30083-01-02-RAL,

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    2014 WL 6694782, at *2-5 (D.S.D. Nov. 26, 2014); United States v. Young. 14-CR-30065-RAL,

    2014 WL 4925255, at *2(D.S.D. Sept. 30, 2014).

           Here, all counts of the indictment charge both Jeremiah and Jesse with burglary and larceny

    first of the Bumett/Diekhoff home in May of 2016 and then with the Westover home and Keller

    Electric in November of 2016 on the Rosebud Indian Reservation, and with being in possession of

    stolen firearms after the Westover burglary and larceny. Doc. 1. These allegations satisfy the "same

    series of acts or transactions" requirement of Rule 8(b). See Young. 2014 WL 4925255, at *1-2

   (concluding that joinder of defendants was proper under Rule 8(b) where defendants, although not

    charged with aiding and abetting one another, were charged with committing the same or similar

   crimes against the same victim in the same location in a narrow period of time); United States v.

    Hawk. No. Cr. 10-30025(02)-RAL, 2010 WL 2219213, at *1-2(D.S.D. June 2, 2010)(holding that

    defendants charged in the same coimt with assaulting the same victim were properly joined); see also

   United States v. Gravatt. 280 F.3d 1189, 1191 (8th Cir. 2002)("Persons . . . jointly indicted on

   similar evidence from the same or related events should be tried together ... .").

           Neither Jeremiah nor Jesse explained why joinder is improper in this case, other than arguing

   that the indictment did not "reveal any basis for joinder" or "any alleged connection." Doc. 255 at 4;

   Doc. 265 at 4. The Indictment however does allege that both Jeremiah and Jesse were involved in

   both burglaries/larcenies. Doc. 1. Of course, prejudice alone does not render joinder improper under

   Rule 8(b) when, as here, the indictment satisfies Rule 8(b)'s prerequisites. S^ United States v.

   Rittweger. 524 F.3d 171, 178 (2d. Cir. 2008) ("The question of whether [defendants] faced

   prejudice—or were in fact prejudiced—^by joinder under Rule 8(b) presents the altogether separate

   inquiry of whether the trial of these defendants should have been severed under Rule 14."); United

   States V. Jones. 880 F.2d 55, 61 (8th Cir. 1989)(noting that Rule 8(b)"permits" the type of prejudice

   that results "when several defendants are jointly charged with a single or related offenses".(quoting
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    Cupp V. United States. 359 F.2d 990, 993 (D.C. Cir. 1966))). Because joinder is proper under Rule

    8(b), this Court turns to Defendants' request for severance under Rule 14(a).

           Rule 14(a) permits relief from prejudieial joinder as follows:

           If the joinder of offenses or defendants in an indictment, an information, or a
           consolidation for trial appears to prejudice a defendant or the government, the court
           may order separate trials of counts, sever the defendants' trials, or provide any other
           relief that justice requires..

   Fed. R. Grim. P. 14(a). The Supreme Court has instructed that "defendants are not entitled to

   severance merely because they may have a better chance of acquittal in separate trials." Zafiro. 560

   U.S. at 540. Rather, a district court is to grant a severance "only if there is a serious risk that a joint

   trial would compromise a specific trial right of one of the defendants, or prevent the jury fi-om

    making a reliable judgment about guilt or innocence." Id at 539. A defendant attempting to

   demonstrate the requisite prejudice under Rule 14(a) "carries a heavy burden." United States v.

   Sandstrom. 594 F.3d 634, 644 (8th Cir. 2010)(quoting United States v. Swinnev. 970 F.2d 494, 500

   (8th Cir. 1992)). He may meet this burden by showing that "(a) his defense is irreconcilable with

   that of his codefendant or(b) the jury will be unable to compartmentalize the evidenee as it relates to

   the separate defendants." United States v. Sanchez-Garcia. 685 F.3d 745, 754 (8th Cir. 2012)

   (quoting United States v. Davis. 534 F.3d 903, 916-17 (8th Cir. 2008)). "Generally, the risk that a

   joint trial will prejudice one or more of the defendants 'is best cured by careful and thorough jury

   instructions.'" Davis. 534 F.3d at 917 fauoting United States v. Mickelson. 378 F.3d 810, 817-18

   (8th Cir. 2004)).

           Jeremiah and Jesse argue that severance is warranted under Rule 14(a) because the three

   codefendants who have pleaded guilty are cooperating Government witnesses who will implicate

   Jeremiah and Jesse in the Westover/Keller Electric theft but not in the Bumett/Diekhoff theft.


   Jeremiah and Jesse then argue that somehow the jury will not be able to compartmentalize evidence

   against each Defendant as a result. Doc. 255 at 5; Doc. 265 at 5. That argument is unpersuasive and
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    not a reason for severing defendants under Rule 14(a). Any possible confusion about whether

    evidence of the Westover/Keller Electric theft impacts decision making on the Bumett/Diekhoff theft

    can he handled by instructions from the Court.

           A much bigger concern to this Court is a possible issue under Bruton v. United States. 391

    U.S. 123 (1968), based on Jesse's statements to law enforcement inculpating himself as well as

    Jeremiah and Stoneman, because the admission of these incriminating statements without Jesse

   taking the stand to testify could violate Jeremiah's right of confrontation under the Sixth

    Amendment.^ Jesse in a recorded statement to Rosebud Sioux Tribe Law Enforcement agents Robert

    Sedlmajer and Kory Provost, after being read his Miranda rights, hlamed Jeremiah and codefendant

   Dakota Marshall for the Westover and Keller Electric thefts. Jesse claimed to have seen the loot


   from those thefts in the garage of the home where Jesse and Jeremiah were living at the time, but

   denied entering the Westover home. Jesse admitted that, with Jeremiah's knowledge and consent,

   Jesse took two firearms with him knowing them to be stolen and hid them on property belonging to

   Jesse and Jeremiah's father. Jesse stated that he was using methamphetamine as was Jeremiah and

   further that Jeremiah had a bad reputation and bad temper. As for the Bumett/Diekhoff burglary and

   larceny, Jesse claimed that he entered that home only after Jeremiah and Stoneman had stolen items

   and ransacked it, noticed a signed and framed Michael Jordan poster, and took only that poster from

   the home.


           The Supreme Court in Bruton held that the admission of a non-testifying codefendant's

   confession naming the defendant as a participant in the crime at their joint trial violated the

   defendant's rights under the Confrontation Clause of the Sixth Amendment, even though the jury was

   instmcted to consider the confession only against the eodefendant. Id at 126. The Supreme Court

   reasoned that although it is often appropriate to assume that a jury will follow a trial judge's limiting


   ^ Admission of Jesse's statements may or may not violate Stoneman's rights under the Sixth
   Amendment. Stoneman as yet has not filed a motion to sever.

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   instructions, "there are some contexts in which the risk that the jury will not, or cannot, follow

   instructions is so great, and the consequences of failure so vital to the defendant, that the practical

    and human limitations of the jury system cannot be ignored." Id at 135. The Court concluded that

    one such context was "where the powerfully incriminating extrajudicial staternents of a codefendant,

    who stands accused side-by-side with the defendant, are deliberately spread before the jury in a joint

   trial." Id. at 135-36.


           The Supreme Court clarified the scope of Bruton in Richardson v. Marsh. 481 U.S. 200

   (1987) and Gray v. Maryland. 523 U.S. 185 (1998). In Richardson, the Supreme Court held that

   there is no Confrontation Clause violation when the defendant's name and existence are redacted

   from his codefendant's confession and limiting instructions are given, even though the confession

    might incriminate the defendant when linked to other evidence. 481 U.S. at 211. The Supreme

   Court reasoned that unlike the confession in Bruton. which "expressly implicat[ed]" the defendant,

   the eonfession in Richardson was not facially incriminating and therefore did not raise the same

   "overwhelming probability" that the jury would be unable to follow a limiting instruction. Id

   (alteration in original). In Gray, however, the Supreme Court held that "obvious" redactions of a

    codefendant's statement, like substituting the defendant's name with a blank space or the word

   "deleted," may violate a defendant's rights under the Confrontation Clause, despite the use of a

   limiting instruction. Gray. 523 U.S. at 195("[W]e believe that, considered as a class, redactions that

   replace a proper name with an obvious blank, the word 'delete,' a symbol, or similarly notify the jury

   that a name has been deleted are similar enough to Bruton's unredacted confessions as to warrant the

   same legal results.").

           When determining whether a statement violates Bruton. courts within the Eighth Circuit

    evaluate "whether the context is one in which the risk is too great that the jury will not or cannot

   follow the cautionary instruction to consider the statement solely against the declarant." United

    States V. Mueller. 661 F.3d 338, 348-49 (8th Cir. 2011)(quoting Sandstrom. 594 F.3d at 648). The
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    Government opposed Jesse's motion to sever without discussing the Bruton issue. Jesse, however, is

   the Defendant who made incriminating statements to law enforcements that may be admitted at trial.

   The admission of such statement against Jesse—as the maker of the statement—^presents no

    Confrontation Clause issue. Rather, it is Jeremiah who has a legitimate Confrontation Clause issue

   under Bruton if Jesse's statement is admitted and Jesse does not testify. If that occurs, Jeremiah

    would be deprived of the right to cross-examine the declarant Jesse and the jury could well,

   regardless of being instructed otherwise, take Jesse's inculpatory statements as evidence against

   Jeremiah. The Government has not responded to Jeremiah's very recently filed motion to sever, so

   this Court does not know if the Government is proposing not to use Jesse's inculpatory statements at

   all or to somehow limit them to the point where no Bruton issue would exist, or to have the jury

   consider the charges against Jeremiah and Stoneman first, then hear Jesse's statements and only then

   deliberate anew on the charges against Jesse.

           Jesse's request for a severance under Rule 14(a) is denied because he has not offered any

   reason why he would suffer unfair prejudice should he be tried with Jeremiah and Stoneman.

   Jeremiah's motion to sever under Rule 14(a) is taken under advisement pending a response from the

   Government.


           Stoneman has filed a Motion for Access to Jury List and Questioimaires, Doc. 260, which is

   granted. Jeremiah has filed a Motion for Individualized Voir Dire, Doc. 267, which this Court will

   grant to permit each defense attorney to do voir dire for Defendants tried together. Ruling on the

   remaining motion in limine will be made at the pretrial conference and motion hearing. Therefore, it

   is hereby

           ORDERED that Jesse's Motion to Sever, Doc. 254, is denied. It is further

           ORDERED that the requests for 10 extra peremptory challenges per Defendant, Docs. 228,

   262, and 263, are denied, although the Court may take up the issue of additional peremptory

   challenges for each side at the pretrial conference and motion hearing. It is further
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          ORDERED that Stoneman's Motion for Access to Jury List and Questionnaires, Doc. 260, is

  granted. It is further

          ORDERED that the Motion for Individualized Voir Dire, Doc. 267, is granted to the extent

  that each defense attorney will be allowed to conduct voir dire,


          DATED this 22nd day ofDecember, 2017.


                                                 BY THE COURT:




                                                 ROBERTO A. LANG!
                                                 UNITED STATES DISTRICT JUDGE




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